
Beatty, C. J., concurring.
— I concur in the judgment upon all points decided, except two.
1. I think the certificate of acknowledgment to the deed of the Alvarados to A. B. Patrick was sufficient to make its record constructive notice to subsequent purchasers, and consequently that the decree of the superior court should have been modified in accordance with the contention of E. Kirkpatrick and the other appellants who claim under the Patrick deed.
2. With respect to specific tract No. 30, I think the decree should have been modified in favor of the appellant Tewksbury.
I also concur in the reasoning and conclusions of the principal opinion, except in a few particulars.
With respect to specific tract No, 41, I concur in the conclusion reached, upon the ground that the certificate of acknowledgment of the dee! from Gabriel Castro and wife to Acosta was so fatally defective that its record did not impart constructive notice to subsequent purchasers from Gabriel. But I differ witli the court as to the supposed insufficiency of the description in the deed of the interest conveyed.
With respect to the various tax. titles, I come to the same conclusion as to their invalidity, but do not agree with some of the grounds of that conclusion stated in the principal opinion.
Rehearing denied in No. 13275.
